  Case 12-27642        Doc 75     Filed 04/17/14 Entered 04/17/14 12:14:08           Desc Main
                                    Document     Page 1 of 2




Dated: April 17, 2014
The following is SO ORDERED:


                                                    ________________________________________
                                                                David S. Kennedy
                                                    UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


In re:

DONAL MARTIN McDONAGH and
MICHELE RAWLS McDONAGH                                Case No. 12-27642 DSK

                Debtor.                               Chapter 13


                    CONSENT ORDER ON CLAIM OF TRUST ONE BANK,
                           A DIVISION OF SYNOVUS BANK


         It appearing to the Court upon stipulation of the parties that Trust One Bank is the holder

of any unsecured claim in the amount of $94,396.80 filed herein as Claim No. 24.

         It further appearing upon stipulation that said Claim is based on the guaranty of the

Debtor Donal McDonagh on an obligation owed by Turas, LLC.

         It further appearing that Turas, LLC has made arrangements for payment of this Claim

outside of bankruptcy, and therefore, this Claim may be deleted for payment in this case.
  Case 12-27642       Doc 75    Filed 04/17/14 Entered 04/17/14 12:14:08        Desc Main
                                  Document     Page 2 of 2



         IT IS THEREFORE ORDERED, that by consent of the parties, that the Claim of Trust

One Bank, a division of Synovus Bank, filed in the amount of $94,396.80 is deleted from

payment in this case due to outside payments made by the borrower Turas, LLC.

         IT IS FURTHER ORDERED, that by consent of the parties, that the balances on any

obligations owed by the Debtors to Trust One Bank, a division of Synovus Bank, shall survive

discharge.


APPROVED:
/s/ Douglas M. Alrutz
Douglas M. Alrutz (BPR 11389)
WYATT, TARRANT & COMBS, LLP
1715 Aaron Brenner Drive, Suite 800
Memphis, TN 38120-4367
Telephone: (901) 577-1000
Attorneys for Trust One Bank, a division
of Synovus Bank


/s/ James D. Gentry (by D. Alrutz with email permission)
James D. Gentry
Gentry Arnold & Mitchell, PLLC
5100 Poplar Avenue, Suite 2008
Memphis, TN 38137
Attorneys for Debtors

      /s/ George W. Stevenson
/s/
George W. Stevenson
5350 Poplar Avenue, Suite 500
Memphis, TN 38119-3697
Chapter 13 Trustee


cc:      Debtor
         Debtor’s Attorney
         Chapter 13 Trustee
         Douglas Alrutz, Attorney


61149636.1
